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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

 Verletta McCutchen, individually and on behalf of all others
 similarly situated,                                                    Case No. 3:21cv50
                                        Plaintiff,




        -v.-
 I.C System, Inc.
 and John Does 1-25
                                       Defendants.


                               CLASS ACTION COMPLAINT
                              AND DEMAND FOR JURY TRIAL


       Plaintiff Verletta McCutchen (hereinafter, “Plaintiff”), a Virginia resident, brings this Class

Action Complaint by and through her attorneys, Meridian Law, LLC, against Defendant I.C.

System, Inc. (hereinafter “Defendant ICS”), individually and on behalf of a class of all others

similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff's personal knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (“The FDCPA” or “The

   Act”) in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and unfair

   debt collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress

   was concerned that "abusive debt collection practices contribute to the number of personal

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bankruptcies, to material instability, to the loss of jobs, and to invasions of individual privacy."

Id. Congress concluded that "existing laws…[we]re inadequate to protect consumers," and that

"'the effective collection of debts" does not require "misrepresentation or other abusive debt

collection practices." 15 U.S.C. §§ 1692(b) & (c).

    2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate. Id. § 1692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                                JURISDICTION AND VENUE

    3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the state law claims in this

action pursuant to 28 U.S.C. § 1367(a).

    4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred and where

the plaintiff resides.

                                   NATURE OF THE ACTION

    5.      Plaintiff brings this class action on behalf of a class of Virginia consumers under §

1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act ("FDCPA"), and

    6.      Plaintiff is seeking damages and declaratory relief.
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                                           PARTIES

   7.      Plaintiff is a resident of the State of Virginia, City of Chesterfield, residing at 4908

Burnt Oak Dr., Apt. 103, Richmond, VA 23234.

   8.      Defendant ICS is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6)

and used in the FDCPA with an address at 240 Emery Street, Bethlehem, PA 18015 and an

address for service in c/o C T Corporation System, 4701 Cox Road, Suite 285, Glenn Allen, VA

23060.

   9.      Upon information and belief, Defendant ICS is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                    CLASS ALLEGATIONS
   11.     Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   12.     The Class consists of:

           a. all individuals with addresses in the State of Virginia;

           b. to whom Defendant ICS sent a collection letter attempting to collect a consumer

               debt;

           c. that stated that the debt would be reported to the credit bureaus in the creditor’s

               name;

           d. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.
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   13.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   15.      There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibit A, violate 15 U.S.C. §§ 1692e.

   16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

nor her attorneys have any interests, which might cause them not to vigorously pursue this

action.

   17.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

            a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

               that the Plaintiff Class defined above is so numerous that joinder of all members

               would be impractical.
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          b. Common Questions Predominate: Common questions of law and fact exist as

              to all members of the Plaintiff Class and those questions predominance over any

              questions or issues involving only individual class members. The principal issue

              is whether the Defendants' written communications to consumers, in the forms

              attached as Exhibit A violate 15 U.S.C. § 1692e.

          c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

              The Plaintiff and all members of the Plaintiff Class have claims arising out of the

              Defendants' common uniform course of conduct complained of herein.

          d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

              class members insofar as Plaintiff has no interests that are adverse to the absent

              class members. The Plaintiff is committed to vigorously litigating this matter.

              Plaintiff has also retained counsel experienced in handling consumer lawsuits,

              complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

              any interests which might cause them not to vigorously pursue the instant class

              action lawsuit.

          e. Superiority: A class action is superior to the other available means for the fair

              and efficient adjudication of this controversy because individual joinder of all

              members would be impracticable. Class action treatment will permit a large

              number of similarly situated persons to prosecute their common claims in a single

              forum efficiently and without unnecessary duplication of effort and expense that

              individual actions would engender.

   18.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff
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Class predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                   FACTUAL ALLEGATIONS

   20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   21.     Some time prior to February 24, 2020, an obligation was allegedly incurred to

creditor PSEG-NJ.

   22.     The PSEG-NJ obligation arose out of transactions incurred primarily for personal,

family or household purposes.

   23.     The alleged PSEG-NJ obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

   24.     PSEG-NJ is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   25.     Defendant ICS contracted with PSEG-NJ to collect the alleged debt.



                          Violation – February 24, 2020 Collection Letter

   26.     On or about February 24, 2020, Defendant ICS sent the Plaintiff an initial collection

letter (the “Letter”) regarding the alleged debt owed. See a true and correct copy of the Letter

attached at Exhibit A.

   27.     The letter states:
           “PSEG-NJ has referred your past due account to I.C. System to pursue collections.
   PSEG-NJ is both the original and current creditor to whom this debt is owed. As of the
   date of this letter our records show the account balance remains unpaid….
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              The account information is scheduled to be reported to the national credit
     reporting agencies in your creditor’s name. You have the right to inspect your credit file in
     accordance with federal law. I.C System will not submit the account information to the
     national credit reporting agencies until the expiration of the time period described in the
     notice below.”

     28.       The letter states that the account information is scheduled to be reported in “your

  creditor’s name,” which according to the Letter is PSEG-NJ.

     29.       However, upon information and belief, Defendant ICS reports the debt in their own

  name to the national credit reporting agencies. Therefore, the letter is deceptive by stating that

  the account will be reported in the name of the original creditor.

     30.       In addition, the letter states “I.C. System” will not submit the account information

  until the expiration of the time period described below, implying that after said “expiration of

  the time period,” Defendant ICS would be doing the credit reporting.

     31.       In the alternative, if both Defendant ICS and the original creditor are both reporting

  to the national reporting agencies, it would constitute deceptive double-reporting.

     32.       It is deceptive for two companies will report to the credit reporting agencies on the

  same debt.

     33.       As a result of Defendant's deceptive, misleading and unfair debt collection practices,

  Plaintiff has been damaged.

                                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     34.       Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     35.       Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.
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    36.     Pursuant to 15 U.S.C. § 1692e, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

    37.     Defendant violated § 1692e:

            a. As the Letter it is open to more than one reasonable interpretation, at least one of

                which is inaccurate.

            b. By making a false and misleading representation in violation of §1692e(10).

    38.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692e et seq. of the FDCPA, and Plaintiff is entitled to an award of

actual damages, statutory damages, costs and attorneys’ fees.




                                     DEMAND FOR TRIAL BY JURY


    39.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

a trial by jury on all issues so triable.



                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff Verletta McCutchen, individually and on behalf of all others

similarly situated demands judgment from Defendant ICS as follows:


    1.      Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Aryeh Stein as Class Counsel;

    2.      Awarding Plaintiff and the Class statutory damages;

    3.      Awarding Plaintiff and the Class actual damages;
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      4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

      5.       Awarding pre-judgment interest and post-judgment interest; and

      6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


Dated: January 28, 2021                                     Meridian Law, LLC
                                                            /s/ Aryeh E. Stein
                                                            By: Aryeh E. Stein, VSB 45895
                                                            600 Reisterstown Road
                                                            Suite 700
                                                            Baltimore, MD 21208
                                                            Phone: 443-326-6011
                                                            Fax: 410-653-9061
                                                            astein@meridianlawfirm.com

                                                            STEIN SAKS, PLLC

                                                            /s/ Raphael Deutsch
                                                            Raphael Deutsch, Esq.
                                                            285 Passaic Street
                                                            Hackensack, NJ 07601
                                                            Telephone: 201-282-6500
                                                            Fax: 201-282-6501
                                                            rdeutsch@steinsakslegal.com
                                                            Lead Attorneys for Plaintiff
                                                            Pro Hac Vice to be filed
